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SOUTHERN DISTRICT OF FLORIDA'S —4 2 2/7 /Ze2 7
WEST PALM BEACH DIVISION

CASE NO. 23-80101-CR-CANNON
UNITED STATES OF AMERICA,
Plaintiff,
Vv.

DONALD J. TRUMP, WALTINE
NAUTA, and CARLOS DE OLIVEIRA,

Defendants.
/

SEALED EX PARTE ORDER FOLLOWING
FEBRUARY 12-13, 2024 CIPA SECTION 4 HEARINGS

